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                 IN THE UNITED STATES BANKRUPTCY COURT FOR
                     THE NORTHERN DISTRICT OF MISSISSIPPI

IN RE:                                                                 CHAPTER 13 CASE NO.:

IDA WALLS                                                                           20-12602-JDW

                        OBJECTION TO CONFIRMATION OF
                    FIRST AMENDED CHAPTER 13 PLAN (DKT. #12)

       COMES NOW the Chapter 13 Trustee, Locke D. Barkley (the “Trustee”), by and through

counsel, after reviewing the Petition, Schedules, Statement of Financial Affairs, and conducting

the Section 341(a) Meeting of Creditors, and files this Objection to Confirmation of First Amended

Chapter 13 Plan (the “Objection”), and in support thereof states as follows:

       1.      The Debtor commenced this proceeding by filing a voluntary petition on August

21, 2020 (the “Petition Date”). The Debtor filed a proposed First Amended Chapter 13 Plan (Dkt.

#12) (the “Plan”) on September 28, 2020.

       2.      The Debtor is below median income and the proposed term of the Plan is sixty (60)

months. The Plan provides that the funds remaining after disbursements have been made to all

other creditors provided for in this plan shall be paid to nonpriority unsecured creditors. The

liquidation value in Section 5.1 of the Plan is $6,629.81.

       3.      The Plan fails to comply with 11 U.S.C. § 1325(a)(6) because it is not feasible. The

Debtor has failed to fully fund the Plan and is $753.67 delinquent in plan payments through

September 2020. Plan payments continue to accrue at the rate of $1399.67 monthly thereafter.

The failure by the Debtor to fund the Plan demonstrates that the Plan is not feasible and, therefore,

cannot be confirmed.




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        4.     The Plan fails to comply with 11 U.S.C. § 1325(a)(1). Section 3.1(a) of the Plan

provides that the ongoing mortgage payments shall be paid beginning in November 2020 to

Shellpoint Mortgage Services (“Shellpoint”). However, the Plan will not be sufficiently funded to

allow for the disbursement to Shellpoint and all other creditors at confirmation due to the

delinquency in plan payments.

        5.     The Debtor should timely remit all plan payments due under the Plan prior to the

hearing or the case should be dismissed for failure to comply with the proposed Plan.

        6.     For the reasons set forth herein, the Trustee submits that Confirmation of the Plan

should be denied and the case dismissed.

        WHEREFORE, PREMISES CONSIDERED, the Trustee respectfully requests that upon

notice and hearing that this Court enter its order sustaining the Objection. The Trustee prays for

other such general and specific relief to which the Trustee and this bankruptcy estate may be

entitled.

        Dated: October 16, 2020.

                                      Respectfully submitted,

                                      LOCKE D. BARKLEY
                                      CHAPTER 13 TRUSTEE

                              BY:     /s/ Melanie T. Vardaman
                                      ATTORNEYS FOR TRUSTEE
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                                 CERTIFICATE OF SERVICE

       I, the undersigned attorney for the Trustee, do hereby certify that I electronically filed the
foregoing with the Clerk of Court using the CM/ECF system, and I hereby certify that I either
mailed by United States Postal Service, first-class, postage prepaid, or electronically notified
through the CM/ECF system, a copy of the above and foregoing to the Debtor, attorney for the
Debtor, the United States Trustee, and other parties in interest, if any, as identified below.

       Dated: October 16, 2020.

                                              /s/ Melanie T. Vardaman
                                              MELANIE T. VARDAMAN




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